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                                                                                              2019 Feb-11 PM 05:12
                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                WESTERN DIVISION


TRANSAMERICAN EQUIPMENT                      §
COMPANY, LLC,                                §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §       CASE NO.: 7:17-CV-00481-LSC
                                             §
INDUSTRIAL ASSETS CORP.,                     §
MAYNARDS INDUSTRIES USA LLC,                 §
and UTICA LEASECO, LLC,                      §
                                             §
       Defendants.                           §


                     JOINT MOTION FOR DISMISSAL WITH PREJUDICE

       Transamerican Equipment Company, LLC, plaintiff in this case, together with defendants

Industrial Assets Corporation, Maynards Industries USA, LLC and Utica Leaseco, LLC, being

collectively all of the Parties to this action, hereby give notice to the Court of the resolution,

through mediation, of all claims and counterclaims which were previously asserted in this case.

Therefore, based upon the Parties’ settlement, and the satisfaction of all obligations imposed

thereby, Plaintiff and Defendants jointly move the Court for the dismissal of this case, and all

claims and counterclaims asserted herein, with prejudice, each party to bear its own costs.


                                             Respectfully submitted,


                                             /s/ Douglas L. McCoy
                                             DOUGLAS L. MCCOY (ASB-5015-C63D)
                                             Attorney for Plaintiff Transamerican Equipment
                                             Company, LLC
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                                        /s/ James E. Fleenor, Jr.
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